Case 1:24-cv-00046-TC-DAO Document 18-2 Filed 08/05/24 PageID.660 Page 1 of 2




                       Exhibit B
  Case 1:24-cv-00046-TC-DAO Document 18-2 Filed 08/05/24 PageID.661 Page 2 of 2




Dotdash Meredith Database – Seniors Masterfile                                                  (Updated 6/2023)

  The Dotdash Meredith Database Seniors Masterfile is a combined and unduplicated masterfile of Age
  50+ subscribers. Dotdash Meredith Seniors subscribers (Age 50+) are a powerful audience of consumers
  at the peak of their careers and earning power and prime targets for a variety of products and
  services.

Gender:                                  Source:
79% Female/21% Male                      Direct Mail Sold


Counts and Rates:                                                  Selections:
                                                                   1 Mo Hotline                          $17/M
  4,546,083     Total Universe                 $115/M              3 Mo Hotline                          $12/M
  4,546,083     Active Subscribers (Age 50+) $115/M                6 Mo Hotline                          $9/M
  346,008       1 Mo Hotline Subscribers      +$17/M               Product Selects/Lifestyle Interests   $16/M
  889,441       3 Mo Hotline Subscribers      +$12/M               DMS                                   $12/M
  2,008,329     6 Mo Hotline Subscribers      +$9/M                Paid                                  $12/M
                Age fee applies to all orders +$16/M               Gender                                $9/M
                Catalog Rate                   $85/M               State/SCF/Zip                         $10/M
                Fundraising Rate               $80/M               Zip Select (4 or more areas)          $15/M
                                                                   Age                                   $16/M
This masterfile is enhanced with demographic and lifestyle
data for even better segmentation. Other senior age                Income                                $16/M
ranges also available to cater to your perfect customer            3rd Party Blow-In                     $10/M
audience! (Age 60+, 70+)                                           Net Name (50,000 MIN)               @85/8.50

This file includes the subscribers of:                             Addressing (flat fee):
All Recipes®, American Patchwork & Quilting®, Better
                                                                     Key Coding                      $3.50/M
Homes and Gardens®, Coastal Living®, Cooking Light®,
Country Home®, Do It Yourself®, Food & Wine®, Midwest                Email/FTP                       $65/F
Living®, People®, People Royals®, Real Simple®, Southern
Living®, Traditional Home®, Travel + Leisure®, and Wood®           Minimum Order: 10,000
(+ Meredith Book Buyers)
                                                                   Details:
                                                                   15% Commission to Brokers. Pre-clearance
                                                                   required. Service bureau requires 3 working days
                                                                   to process all orders, otherwise $85 Flat fee
                                                                   applies.
                                                                                                              Contact:
                                                                                      Monique Adams, List Manager
                                                                        E-mail: MoAdams@AudienceFirstMedia.com

                                                                                                 Linda Amaral, Sales
                                                                                      Phone: (410) 721-5700 Ext. 2330
                                                                           E-mail: lamaral@audiencefirstmedia.com

                                                                             Please send list clearances & orders to:
                                                                                  orders@AudienceFirstMedia.com

All processed orders cancelled before mail date will incur a $100 cancellation fee in addition to applicable running,
              selection, and shipping charges. Orders cancelled after the mail date incur full charges.

   P.O. Box 828 | Lanham, MD 20706 | Tel. (410) 721-5700 | Fax (410) 721-5795 | http://www.audiencefirstmedia.com/
